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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                              Case Number: 14-14698-LMI
IRIS MILAGROS ORTIS
JOSE RUBEN ORTIS
      Debtor
____________________________/


                     OBJECTION TO MOTION TO ALLOW LATE CLAIM

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this Objection to the

Motion to Allow Late Proof of Claim filed by Deutsche Bank Trust Company Americas, as

Trustee for Residential Accredit Loans, Inc, Mortgage Asset Backed Pass-through Certificates

Series 2006-QS8 ("Creditor") and states as follows:

         1) The motion to value collateral (ECF #107), served on the Creditor as required by

FRBP 7004, has in bold letters the following notice: "If you have not filed a proof of

claim, you have until the later of the claims bar date or 21 days from the date this

Motion was served upon you to file a proof of claim or you will be deemed to have

waived the right to payment of any unsecured claim to which you might otherwise

be entitled. [See Local Rule 3015-3(A)(4)]"

         2) The proof of claim filed by the creditor seeks an unsecured claim.

         3) This objection is limited to any unsecured portion of the claim, even if the claim has

not yet been determined to be partial unsecured. In addition, if the claim is not paid in the plan,

the Trustee request that any order granting the motion to allow claim specify that stay relief was

granted in the confirmation order and that the creditor will not seek a distribution from the

Chapter 13 Estate.
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Laches as there was no intent to hold the estate liable for an unsecured claim

       The motion for relief from stay was based on the fact that the debtors did not provide for

payments in the plan. The claimant did not amend its claim prior to the bar date. Thus the

claimant did not evidence an intent to hold the estate liable but to seek payments directly.

       The Creditor claims that the unsecured claim arose as the result of the recovery and

disposal of the collateral. The original proof of claim did not reflect that there was an unsecured

claim but stated that the full amount of the claim was secured. The Trustee has not received

evidence that the collateral was sold at the best price available

Late filed proof of claim

       The filing of a proof of claim in Chapter 13 is governed by Federal Rules of Bankruptcy

Procedure (Rule) 3002. An unsecured creditor must file a timely proof of claim to hold an

allowed unsecured claim pursuant to Rule 3002(a). In addition, Rule 3002(c) requires that proof

of claim must be filed not later than 90 days after the first date set for the meeting of creditors.

These Rules do provide for five (5) specific exceptions, none of which apply in this case. Rule

9006(b)(3) specifically limits the conditions under which the courts may enlarge the time for

filing a proof of claim to those five specific exceptions listed in Rules 3002(c). Accordingly, the

Court is unable to extend the bar date pursuant to the Rules.

       In fact, when the Supreme Court found excusable neglect for the late filing of a proof of

claim in a Chapter 11, it excluded Chapter 13 and Chapter 7 from its findings. Pioneer Inv.

Services Co. v. Brunswick Associates Ltd. Partnership, 507 U.S. 380, 113 S.Ct. 1489, 1505, 123

L.Ed.2d 74, (U.S.Tenn. 1993), Footnote 4 states:

               “The time-computation and time-extension provisions of Rule 9006, like
       those of Federal Rule of Civil Procedure 6, are generally applicable to any time
       requirement found elsewhere in the rules unless expressly excepted. Subsections
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       (b)(2) and (b)(3) of Rule 9006 enumerate those time requirements excluded from
       the operation of the "excusable neglect" standard. One of the time requirements
       listed as excepted in Rule 9006(b)(3) is that governing the filing of proofs of
       claim in Chapter 7 cases. Such filings are governed exclusively by Rule 3002(c).
       See Rule 9006(b)(3); By contrast, Rule 9006(b) does not make a similar
       exception for Rule 3003(c), which, as noted earlier, establishes the time
       requirements for proofs of claim in Chapter 11 cases. Consequently, Rule
       9006(b)(1) must be construed to govern the permissibility of late filings in
       Chapter 11 bankruptcies.” Pioneer Inv. Services Co. v. Brunswick Associates Ltd.
       Partnership, 507 U.S. 380, 113 S.Ct. 1489, 1505, 123 L.Ed.2d 74, (U.S.Tenn.
       1993)

       The Rules governing proof of claims in Chapter 7 are the same as those governing in

Chapter 13. Consequently, the Supreme Court’s analysis would be applied in a Chapter 13. Just

as in a Chapter 7 case, a Chapter 13 case has a finite period of existence. If a unsecured creditor

filed a proof of claim after the distribution of funds has begun to creditors, it would create an

administrative burden on the Trustee to re-calculate the pro rata percentage due to each creditor.

Furthermore, the Trustee may be required to seek a return of funds from creditors already paid or

to seek an increase in the debtor’s payments to pay the late claim’s pro rata share.

                                               RESPECTFULLY SUBMITTED:

                                                      NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806

                                                      By: /s/___________________
                                                      Amy Carrington, Esq.
                                                      FLORIDA BAR NO: 101877

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of this Objection was served through NEF on
debtor's attorney and Ashleigh C. McKenzie, Esq , attorney for Creditor


                                                      NANCY K NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
